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              IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION


UNITED STATES OF AMERICA,

                                             Case No,     CR417-208


TATONYA HAILES,
                   Defendant.



     Dwight L. Thomas, counsel of record for defendant Tatonya

Hailes in the above-styled case has moved for leave of absence.

The Court is mindful that personal and professional obligations

require the absence of counsel on occasion. The Court, however,

cannot accommodate its schedule to the thousands of attorneys who

practice within the Southern District of Georgia.

     Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.


     so ORDERED this ^^7'^day of February 2018.


  U.S. DISTRICT COURT              WILLIAM T. MOORE,^<JR.
  Southern District of Qa.
      Filed Office^                UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
